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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 TYREE MORRIS,                                                CIVIL ACTION

        Petitioner,
                                                              NO. 22-0248-KSM
        v.

 SUPERINTENDENT SCI FRACKVILLE,
 et al.,

        Respondents.


                                             ORDER

       AND NOW, this 7th day of July, 2022, upon careful and independent consideration of

the petition for a writ of habeas corpus and available state court records, and after review of the

Report and Recommendation of United States Magistrate Judge David R. Strawbridge (Doc. No.

10), it is ORDERED that:

       1.      The Report and Recommendation is APPROVED and ADOPTED;

       2.      The Motions for Abeyance (Docs. No. 3, 5) are GRANTED;

       3.      Petitioner’s case is STAYED and his petition for a writ of habeas corpus is placed

IN SUSPENSE until the conclusion of Petitioner’s state collateral review proceedings; and

       4.      Petitioner SHALL notify the Court within thirty (30) days of the conclusion of the

state proceedings in his case so that the habeas petition may proceed in this Court.

IT IS SO ORDERED.

                                                      /s/ Karen Spencer Marston
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                                                      KAREN SPENCER MARSTON, J.
